                                                                             4/9/19
                IN TIJE UNITEP STATESDISYRICT COURT
               FO R TH E W ESYERN DISTRICT O F VIRGINIA
                            A BIN G D O N D W ISIO N

 U NITED STA TES O F A M ER ICA

                                                     Case N o.1:16CR00041-014

 V.                                                  O PIN IO N A ND O R D ER

 R EBE CCA LYN N W ILLIA M S,                        By: Jam esP.Jones
                                                     U nited StatesD istrictJudge
                  D efendant.

      Zachary r Lee,Assistant United StatesAttorney,Abingdon, Virginia,for
 UnitedStates;RebeccaLynn Williams,ProSeDefendant.
       A n evidentiary hearing is necessary to resolve defendant Rebecca Lynn

 W illiams's M otion Under 28 U.S.C.j 2255 to Vacate,SetAside,or Correct
 Sentence(ECF No.978).In olleofthethree j2255claims,W illiamsallegesthat
 counsel rendered ineffective assistance,in violation of the Sixth A m endm ent,by

 not fling a notice of appeal after being asked to do so. Consequently,W illiam s

 presents at least one colorable claim of ineffective assistance of counsel,and the

 courtdefers adjudication ofherother j 2255 claims. See,e.g.,United Statesv.
 Killian,22 F.App'x 300,301(4th Cir.2001)(unpublished)(stating thatadistrict
 courtshould notadjudicate otherj 2255 claimsifvacaturiswarranted);United
 Statesv.Witherspoon,231F.3d 923,926-27 (4th Cir.2000)(discussing effective
 representationmstonoticesofappeal).




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       Forthese rec ons,itis hereby O R D ER ED as follow s:

       TheUnited States'M otiqn to Dismiss(ECF No.1023)isTAKEN IJNDER
       A DV ISEG N T;

 2.    The defendant's M otion to V acatç,SetA side,or Correct Sentence pursuant

       to 28 U.S.C.j 2255 willbe subjeçtto an evidentiary hearing before the
       undersigned,lim ited to the claim thatcounselw ms ineffective regarding the

       defendant's desire to appeal;

       The clerk w ill arrange the appointm ent of counsel for defendant for the

       hearing'
              ,

 4.    The clerk w ill schedule the hearing and w ill arrange for the defendant to

       appear at the hearing by video conference from her place of incarceration;

       and

       The clerk w ill send copies of this Order to the defendant and to appointed

       counsel.

                                                 EN TER : A pril9,2019

                                                 /s/ Jam esP.Jones
                                                 United StatesDistrictJudge




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